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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LISA GUFFEY and CHRISTINE SMITH,

               Plaintiffs,

   v.
                                                      Case No. 1:18-cv-01271-CRC
JAMES C. DUFF, in his official capacity as
Director of the Administrative Office of the
United States Courts,

               Defendant.


                                            NOTICE

        Defendant James C. Duff respectfully informs the Court that as of April 6, 2020, Plaintiff

Christine Smith is no longer employed by the Administrative Office of the United States Courts.

As a result of a series of realignment actions within the Administrative Office, the Information

Technology Specialist position held by Ms. Smith was abolished.


Dated: April 20, 2020                          Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               JENNIFER D. RICKETTS
                                               Director
                                               Federal Programs Branch

                                               CHRISTOPHER R. HALL
                                               Assistant Director
                                               Federal Programs Branch

                                                /s/ M. Andrew Zee
                                               M. ANDREW ZEE (California Bar No. 272510)
                                               JULIE STRAUS HARRIS (DC Bar No. 1021928)
                                               Trial Attorneys
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